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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------- X
 JOE FERNANDEZ,                                                 :
                                              Petitioner        :   OPINION & ORDER
                                                                :   GRANTING MOTION TO
            -against-                                           :   VACATE SENTENCE ON
                                                                :   COUNT TWO OF INDICTMENT
                                                                :
 UNITED STATES OF AMERICA,                                      :   20 Civ. 5539 (AKH)
                                                                :   10 Cr. 863 (AKH)
                                              Respondent. :
 -------------------------------------------------------------- X
 UNITED STATES OF AMERICA,                                      :
                                                                :
                                                                :
            -against-                                           :
                                                                :
                                                                :
 JOE FERNANDEZ,                                                 :
                                                                :
                                              Defendant.        :
 -------------------------------------------------------------- X
ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Petitioner Joe Fernandez moves under 28 U.S.C. § 2255 to vacate his conviction

under Count Two of the indictment, which charges him with the crime of using a firearm in

furtherance of a crime of violence causing the death of a person, in violation of 18 U.S.C.

§ 924(j). See 10 Cr. 863, ECF No. 229. The crux of his claim is that, following the Supreme

Court’s decision in United States v. Davis, 139 S. Ct. 2319 (2019), his conviction of a conspiracy

to commit murder for hire no longer qualifies as a “crime of violence” under 18 U.S.C.

§ 924(c)(3), and thus his conviction under Count Two of the indictment must be vacated. The

Government opposes the motion, arguing that Petitioner’s claim is procedurally defaulted and

fails on the merits. For the reasons discussed below, Petitioner’s motion is granted and his life

sentence on Count II is vacated.




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                                                  BACKGROUND

                    On February 6, 2013, Petitioner Joe Fernandez was charged with one count of

conspiracy to use interstate commerce facilities in the commission of murder for hire resulting in

death, in violation of 18 U.S.C. § 1958 (Count One), and one count of using a firearm in

furtherance of a crime of violence resulting in death, in violation of 18 U.S.C. §§ 924(j)(1)–(2)

(Count Two). See 10 Cr. 863, ECF No. 74. The charges arose from the double murders of

Ildefonso Vivero Flores and Arturo Cuellar on February 22, 2000. Flores and Cuellar were

couriers of a Mexican narcotics trafficking organization that had exported a 274-kilogram

shipment of cocaine to Jeffrey Minaya, the leader of a New York drug ring. To avoid paying the

suppliers the money owed, Minaya recruited Patrick Darge to kill Flores and Cuellar, the two

narcotics couriers, in exchange for $180,000. Tr. at 98–135. 1 Darge, a cooperating witness,

testified that he recruited his cousin, Petitioner Joe Fernandez, to back him up, in exchange for

$40,000, and that he recruited Luis Rivera to obtain weapons, ammunition, and a car, and to act

as the getaway driver, in exchange for $20,000. Tr. at 149–54, 188–89, 255–57, 266–87,

616–18.

                    Petitioner’s trial commenced on February 19, 2013. The Government’s key

evidence against him was the testimony of Patrick Darge, the only witness to identify Petitioner

as a member of the murder-for-hire conspiracy or to place him at the crime scene. Darge

testified that he asked Petitioner to participate because Petitioner was his cousin, had a gun that

could be used in the murders, and was trustworthy. Tr. at 273–74. Darge testified that he told

Petitioner that he had been “hired to murder two guys,” offered to pay Petitioner $40,000 to

assist him in the murders, and instructed Petitioner to bring his own gun. Tr. at 276–77. Darge



1
    Throughout this Opinion, “Tr.” refers to the transcript from Petitioner’s trial. See ECF Nos. 90–107.


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testified that he told Petitioner that the killing was necessary to protect members of the family

and that Petitioner agreed to participate. Tr. at 277. The plan, according to Darge, was to

commit the murders in the lobby of an apartment building in the Bronx on February 22, 2000. A

member of the Minaya gang was to lure Cuellar and Flores to the building, telling them that

drugs and drug money were stashed in an upstairs apartment and that they would be paid there.

The plan was to kill the victims while they waited for the elevator in the lobby.

               In the morning of February 22, 2000, Cuellar and Flores were brought to the

Bronx apartment building. Darge testified that he and Petitioner lurked in a concealed area in the

lobby, that a Minaya gang member brought the two victims to the lobby where they waited for

the building’s elevator, and that he (Darge) emerged behind the victims with Petitioner

following. Darge testified that he shot one of the Mexican couriers in the back of his head, that

his gun jammed, and that he fled from the scene to the get-away car, a block-and-a-half away.

Darge testified that he heard two or three shots while he was running away. Tr. at 328.

               Darge testified that Luis Rivera was parked, waiting for him, and that Petitioner

arrived minutes later and said that he “had to make sure they were both dead.” Tr. at 332.

Rivera drove away on a pre-planned route.

               Cuellar and Flores, the Mexican couriers, were found dead in the lobby of the

apartment building, lying in a pool of their blood. Shell casings of spent bullets were scattered

on the lobby floor. Tr. at 35. Darge testified that he was paid $180,000 for the murders later that

day and gave $40,000 to Petitioner. Tr. at 335.

               On cross-examination, Darge admitted that he had lied during a previous

cooperation with the Government and that his lies enabled him to receive a sentence of two years

instead of a minimum sentence of 12-and-a-half years. Tr. at 386–87. He also admitted that he




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had failed to disclose to the Government numerous shootings in which his younger brother,

Alain Darge, had participated, Tr. at 405, and that he and his brother fled to the Dominican

Republic after the murders of Cuellar and Flores. Tr. at 417. Petitioner exercised his

constitutional right not to testify. Tr. at 1031.

                    On March 7, 2013, after a nine-day jury trial, the Jury convicted Petitioner of both

Counts One and Two, the murder-for-hire conspiracy 2 and the crime of using a firearm in

furtherance of a crime of violence causing death to a person, 3 respectively. See 10 Cr. 863, ECF

No. 106. On October 7, 2014, Petitioner was sentenced to two mandatory, consecutive life

sentences. As of this writing Petitioner has served approximately 120 months of his term,

counting from the date of his detention on October 18, 2011.




2
    18 U.S.C. § 1158 provides that:

          Whoever travels in or causes another . . . to travel in interstate or foreign commerce, or uses or
          causes another . . . to use the mail or any facility of interstate or foreign commerce, with intent
          that a murder be committed in violation of the laws of any State or the United States as
          consideration for the receipt of, or as consideration for a promise or agreement to pay, anything of
          pecuniary value, or who conspires to do so, . . . if death results, shall be punished by death or life
          imprisonment, or shall be fined not more than $250,000, or both.
3
    18 U.S.C. § 924(j) provides that:

          A person who, in the course of a violation of subsection (c), causes the death of a person through
          the use of a firearm, shall—
                   (1) if the killing is a murder (as defined in section 1111), be punished by death or by
                   imprisonment for any term of years or for life; and
                    (2) if the killing is manslaughter (as defined in section 1112), be punished as provided in
                    that section.

18 U.S.C. § 924(c)(3) further provides that:

          For purposes of this subsection the term “crime of violence” means an offense that is a felony
          and—
                  (A)has as an element the use, attempted use, or threatened use of physical force against
                  the person or property of another, or
                    (B)that by its nature, involves a substantial risk that physical force against the person or
                    property of another may be used in the course of committing the offense.



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                  Luis Rivera, who, according to Patrick Darge, procured the guns and drove the

getaway car, was not called as a witness. On September 7, 2012, well after Darge’s sentencing,

Rivera pled guilty only to conspiracy to distribute heroin and was sentenced to 24 months’

imprisonment. See 10 Cr. 863-6, ECF No. 60. The Government dismissed the conspiracy to

murder and the firearm charges against Rivera. 4

                  Petitioner directly appealed his conviction and sentence claiming that: (i) the

evidence adduced at trial was insufficient to prove beyond a reasonable doubt that he knowingly

joined the conspiracy with the specific intent to commit murder for hire; and (ii) the Court

improperly denied his motion for a new trial based on the Government’s failure to disclose

Brady material, and on newly discovered evidence concerning the credibility of Government




4
  Petitioner requested a charge on inferences that can be drawn from an uncalled witness. I gave the Jury the
following instruction:

         So if there is a witness who[m] you think might have had useful and relevant information but did
         not appear in the case, you need to decide: Is that really so? Did the witness really have that
         information? If the witness came, would it have just been a waste of time? Would the witness
         have said things that you already knew from other people? And is that an explanation? And there
         are many other explanations why some people don't appear. What you need to do is to decide, and
         I repeat this many times because it is key to your function. Look at all of the evidence and look at
         what is missing and decide: Did the government satisfy its burden to prove the case on each and
         all of the elements of the crimes charged beyond a reasonable doubt.

Tr. at 1031. Had I known then that Luis Rivera would not be charged at the level Petitioner had been charged, but
for a much less serious and unconnected narcotics conspiracy that led to a sentence of two years rather than to a
mandatory life sentence, I probably would not have given this charge. Patrick Darge’s testimony inculpates Rivera,
just as it inculpated Petitioner. The Government probably would not have given Rivera a lesser charge to which to
plead guilty without having known something from briefing Rivera that was inconsistent with trying Rivera for
conspiracy to murder and use a firearm in furtherance of a crime of violence. If Rivera could not be charged with
the crimes of which Petitioner was found guilty, perhaps there is something to Petitioner’s argument, that not he, but
Patrick Darge’s brother, Alain Darge, was the second shooter, and that Patrick Darge testified to cover that up.

Rivera, if called, probably would have claimed his Fifth Amendment right and not testified. To that extent, he
would not have added information to the trial. But the wording of my charge suggested to the Jury that the uncalled
witness, the get-away driver, had “information” and “may have said things” that would have been redundant of
Patrick Darge’s testimony and, therefore, that the testimony of the uncalled witness would have been a waste of trial
time. Rivera’s plea casts doubt as to the reliability of Patrick Darge’s testimony and, therefore, the fairness of my
charge.

This issue is not part of this motion and has not been briefed. It is not part of this decision.


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witnesses. By Summary Order dated May 2, 2016, the Second Circuit affirmed Petitioner’s

convictions. See United States v. Fernandez, 648 Fed. App’x. 56 (2d Cir. 2016), cert. denied,

138 S. Ct. 337 (2017).

               On June 27, 2017, Petitioner sought a writ of habeas corpus under 28 U.S.C.

§ 2255, challenging my jury instructions regarding aiding and abetting liability and the term

“use” of a firearm under 18 U.S.C. § 924(c). Petitioner claimed also that his trial and appellate

lawyers were constitutionally inadequate for not having raised these issues. I denied the petition

but granted a certificate of appealability. See 17 Civ. 4806, ECF No. 6. By Summary Order on

December 4, 2018, the Second Circuit denied Petitioner’s appeal. See Fernandez v. United

States, 757 Fed. App’x. 52 (2d Cir. 2018), cert. denied, 140 S. Ct. 337 (2019).

               On June 22, 2020, the Second Circuit granted Petitioner leave to file the instant

motion under 28 U.S.C. § 2255. See 20 Civ. 1130, ECF No. 9. Here, Petitioner argues that his

Count Two firearm conviction is no longer valid after Davis, 139 S. Ct. 2319, because

conspiracy is not a crime of violence. See 20 Civ. 1130, ECF No. 19. I grant Petitioner’s

motion.

                                          DISCUSSION

               The Supreme Court in Davis held that Section 924(c)(3)’s “residual” clause,

clause (B), which defines a “crime of violence” as a crime that, “by its nature, involves a

substantial risk that physical force against the person or property of another may be used,” was

unconstitutionally vague as a basis of enhanced punishment for a firearms offense. See Davis,

139 S. Ct. at 2336 (quoting 18 U.S.C. § 924(c)(3)(B)). After Davis, an offense may serve as a

predicate crime of violence only if the elements of the crime categorically involved “the use,

attempted use, or threatened use of physical force against the person or property of another.” 18




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U.S.C. § 924(c)(3)(A). Petitioner argues that the crime of conspiracy, even a conspiracy to

commit murder for hire when death occurs, of which he was found guilty in Count One, is not a

crime of violence under Section 924(c)(3)(A). The Government argues in opposition that

Petitioner’s claim was procedurally defaulted, fails on the merits, and is not cognizable under

28 U.S.C. § 2255.

           I.   Procedural Default.

                The Government argues that Petitioner’s claim is procedurally defaulted because

he failed to raise his challenge on direct appeal. Petitioner responds that there is “cause” and

“actual prejudice” for not then raising the issue. I hold that Petitioner’s procedural default is

excused.

                A. Legal Standard.

                A procedurally defaulted claim cannot be entertained unless the movant “can first

demonstrate either [1] ‘cause’ and ‘actual prejudice,’ or [2] that he is ‘actually innocent.’” See

Bousley v. United States, 523 U.S. 614, 622 (1998) (quoting Murray v. Carrier, 477 U.S. 478,

485, 496 (1986)).

                To show “cause” for failure to raise a challenge on direct appeal, a defendant

must demonstrate that “some objective factor external to the defense” prevented him from

raising his claim, McCleskey v. Zant, 499 U.S. 467, 493 (1991) (quoting Carrier, 477 U.S.

at 488)––a “claim ‘so novel that its legal basis [was] not reasonably available to counsel.’”

Whitman v. United States, 754 F. App’x 40, 42 (2d Cir. 2018) (quoting Reed v. Ross, 468 U.S. 1,

16 (1984)). “The futility test to excuse a default is strict; ‘the question is not whether subsequent

legal developments have made counsel’s task easier, but whether at the time of the default the




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claim was ‘available’ at all.”’ United States v. Thorn, 659 F.3d 277, 233 (2d Cir. 2011) (quoting

Smith v. Murray, 477 U.S. 527, 537 (1986)).

                  To establish “prejudice,” a defendant must establish “not merely that the errors at

his trial created a possibility of prejudice, but that they worked to his actual and substantial

disadvantage, infecting [the defendant’s] entire trial with error of constitutional dimensions.”

United States v. Frady, 456 U.S. 152, 179 (1982) (emphasis in original). A “claim of actual

prejudice has validity only if an error . . . amounts to prejudice per se, regardless of the particular

circumstances of the individual case.” Id.

                  B. Application.
                      i.       Cause.
                  Petitioner argues that cause exists because his claim was not available to him at

the time of default. The Supreme Court struck down Section 924(c)(3)’s residual clause as

“constitutionally vague” in June 2019, two years after Petitioner exhausted his direct appeal.

Davis, 139 S. Ct. at 2336. The Government argues in response that a vagueness challenge to

Section 924(c)(3)’s residual clause was available in light of the Supreme Court’s decision in

Johnson v. United States, 576 U.S. 591 (2015), which was decided during the pendency of

Petitioner’s appeal.

                  The Supreme Court in Johnson upheld a challenge to the residual clause of the

Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii), finding that ACCA’s

definition of “violent felony” was constitutionally vague. See Johnson, 576 U.S. at 594, 606. 5

However, the law in the Second Circuit after Johnson and before Davis was clear that conspiracy




5
  ACCA defines a “violent felony” as any felony that “involves conduct that presents a serious potential risk of
physical injury to another.” 18 U.S.C. § 924(e)(2)(B)(ii).


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to commit a crime of violence was itself a crime of violence. In United States v. Barrett, 937

F.3d 126 (2d Cir. 2019), the Second Circuit stated:

                 It has long been the law in this circuit that a conspiracy to commit
                 a crime of violence is itself a crime of violence under 18 U.S.C.
                 § 924(c)(3). See United States v. Desena, 287 F.3d 170, 181
                 (2d Cir. 2002) (reaching conclusion with respect to conspiracy to
                 commit assault in aid of racketeering); accord United States v.
                 Acosta, 470 F.3d 132, 136 37 (2d Cir. 2006) (reaching conclusion
                 with respect to conspiracy to injure, threaten, or intimidate person
                 in exercise of civil rights). Indeed, we have so held with particular
                 reference to Hobbs Act robbery conspiracy, see United States v.
                 Elder, 88 F.3d 127, 129 (2d Cir. 1996), among other crimes, see,
                 e.g., United States v. Patino, 962 F.2d at 267 (reaching conclusion
                 with respect to kidnapping conspiracy).

Id. at 175.

                 At the time of his direct appeal, the argument that Petitioner now makes would

have been “patently futile” under the pre-Davis Second Circuit cases. Davis changed the law.

When that occurs, a procedural default may be excused. Ingber v. Enzor, 841 F.2d 450, 455

(2d Cir. 1988). In Ingber, as here, the defendant also sought to collaterally attack his conviction

after the Supreme Court had interpreted the statute at issue in a way favorable to him. The

Supreme Court issued Ingber “after the defendant had exhausted his direct appeals” and

“follow[ing] a decade of consistent precedent to the contrary . . ..” Napoli v. United States, 32

F.3d 31, 37 ((2d Cir. 1994)), on reh’g, 45 F.3d 680 (2d Cir. 1995). The Second Circuit held that

there was cause; any attempt to raise the issue on direct appeal would have been “patently

futile.” Ingber, 841 F.2d at 455. I hold that Petitioner had “cause.” And, clearly, he was

prejudiced, for he was convicted on an unlawful charge. 6



6
  Because I hold that there was “cause” and “prejudice,” I need not consider the alternative ground of “actual
innocence” for excusing a procedural default. But see note 4, supra, discussing my second thoughts about the
fairness of an element of my jury charge.


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            II.     Crime of Violence.

                    Petitioner contends that his conviction of conspiring to use a firearm in

furtherance of a crime of violence where death results is not “a crime of violence,” because,

under Davis, the crime does not categorically contain as an element the “use, attempted use, or

threatened use of physical force against the person or property of another.” 18 U.S.C.

§ 924(c)(3)(A); see Davis, 139 S. Ct. at 2239. Petitioner argues that his conviction of

Count Two of the indictment therefore should be vacated. See 18 U.S.C. § 924(j). 7 The

Government argues that this conspiracy is different, because it is a conspiracy to murder for hire

where death actually resulted. Such a conspiracy, the Government argues, necessarily involves

physical force. I hold that the statute favors Petitioner’s argument.

                    A. Categorical and Modified Categorical
                    Count One of the indictment, the conspiracy to murder for hire, is the predicate

offense of Count Two, the conspiracy to use a firearm where death results. I must focus not on

“how the defendant actually committed his crime,” but on the categorical elements of the crime.

Davis, 139 S. Ct. at 2326. This categorical approach “look[s] only to the statutory definitions––

i.e, the elements––of a defendant’s [] offense, and not to the particular facts underlying [the

offense],” to determine if the offense qualifies as a “crime of violence.” Descamps v. United

States, 570 U.S. 254, 260–61 (2013).




7
    I gave the Jury the following instruction regarding the “crime of violence:”

           You must find from the government’s proof beyond a reasonable doubt that the defendant
           participated in the crime of violence described in the indictment. If you find that the government
           proved the crime of violence beyond a reasonable doubt, here the crime of violence is to kill
           Flores or Cuellar, either of them, that constitutes a murder for hire as I've instructed you.

Tr. at 1015.


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               However, if an offense includes alternative elements for conviction, as does 18

U.S.C. § 1958(a), the murder-for-hire conspiracy statute, a “modified categorical approach” is to

be used to determine “which element played a part in the defendant’s conviction.” Id. at 260.

Under this approach, a limited set of documents are to be reviewed, including the indictment,

plea agreement, and plea colloquy “to determine, what crime, with what elements, the defendant

was convicted of.” Mathis v. United States, 136 S. Ct. 2243, 2249 (2016). I must “consider the

minimum conduct necessary for a conviction of the predicate offense . . . , and then consider[]

whether such conduct amounts to a crime of violence” under section 924 (c). United States v.

Hill, 890 F.3d 51, 56 (2d Cir. 2018). I focus “on the intrinsic nature of the offense rather than on

the circumstances of the particular crime.” United States v. Acosta, 470 F.3d 132, 135 (2d Cir.

2006). If the “most innocent” or “minimum criminal” conduct does not constitute a “crime of

violence,” then the offense categorically fails to qualify as a “crime of violence.” Id.; cf. United

States v. Scott, 990 F.3d 94 (2d Cir. 2021) (en banc) (holding that first degree manslaughter in

New York law is a crime of violence).

               B. Application.
               In this case, the predicate conviction was the conspiracy to commit murder for

hire in violation of 18 U.S.C. § 1958. Section 1958(a) provides that:

               (a) Whoever travels in or causes another (including the intended
               victim) to travel in interstate or foreign commerce, or uses or
               causes another (including the intended victim) to use the mail or
               any facility of interstate or foreign commerce, with intent that a
               murder be committed in violation of the laws of any State or the
               United States as consideration for the receipt of, or as
               consideration for a promise or agreement to pay, anything of
               pecuniary value, or who conspires to do so, shall be fined under
               this title or imprisoned for not more than ten years, or both; and if
               personal injury results, shall be fined under this title or imprisoned
               for not more than twenty years, or both; and if death results, shall



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               be punished by death or life imprisonment, or shall be fined not
               more than $250,000, or both.

18 U.S.C. § 1958(a) (emphasis added to highlight the forms of conduct that are the bases of the

statutory violations). Applying the modified categorical approach, I have to determine if “the

minimum conduct necessary for a conviction” of a murder-for-hire conspiracy constitutes a

crime of violence under Section 924(c)(3)(A)’s element clause. Hill, 890 F.3d at 56. I must

consider if the most “innocent” or “minimum” form of a murder-for-hire conspiracy, Acosta, 470

F.3d at 135, has, as an element, the use, attempted use, or threatened use of physical force

against the person or property of another, 18 U.S.C. § 924(c)(3)(A).

               Section 1958(a) does not have, “as an element[,] the use, attempted use, or

threatened use” of physical force. Id.; see also Henson v. Santander Consumer USA Inc., 137

S. Ct. 1718, 1721 (2017) (“[W]e begin, as we must, with a careful examination of the statutory

text.”). The statute defines the crime as involving five forms of conduct: (i) traveling in

interstate or foreign commerce; (ii) causing another to travel in interstate or foreign commerce;

(iii) using the mail or any facility of interstate or foreign commerce; (iv) causing another to use

the mail or any facility of foreign commerce; or (v) conspiring to do any of the foregoing (plus

the requisite intent). See 18 U.S.C. § 1958(a). None of these five forms of conduct involves the

use or attempted use or threatened use of physical force. See Qadar v United States, 00 Cr. 603,

16 Civ. 3593 (ARR), 2020 WL 3451658, at *2 (E.D.N.Y. June 24, 2020); see also United States

v. Boman, 873 F.3d 1035, 1042 (8th Cir. 2017) (“[M]urder-for-hire can only constitute a crime of

violence under the residual clause of § 924(c)(3)(B), and not under the force clause of §

924(c)(3)(A), because it does not have ‘as an element the use, attempted use, or threatened use of

physical force against the person or property of another.’”). “With death resulting” is not an

element of the crime; it is the consequence of the crime.



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               The Government argues that because Petitioner was convicted of a murder-for-

hire conspiracy resulting in death, the crime is a “crime of violence” under Section 923(c)(3)(A).

But, as Judge Ross wrote in Qadar, also a case charging conspiracy to murder for hire, the

requirement that “death results” does not elevate the act of traveling, using the mail, or

conspiring to do the foregoing to an act involving physical force. See Qadar, 2020 WL

3451658, at *2. The criminalizing conduct in Section 1958 “is very different from a murder

statute such as [Section] 1959, which applies when a person ‘murders, kidnaps, maims, assaults

with dangerous weapon, commits assault.’” Id. (quoting 18 U.S.C. § 1959). Other district court

cases in this circuit hold as does Qadar. See Qadar, 2020 WL 3451658 (finding that conspiracy

to commit murder for hire and murder for hire itself do not constitute a crime of violence for

purposes of Section 924); Americo Massa v. United States, 00 Civ. 1118 (JSR) (S.D.N.Y. Apr.

15, 2020), ECF No. 809 (granting petitioner’s Section 2255 motion to vacate his Section 924(c)

conviction predicated on conspiracy to commit murder in aid of racketeering, because, following

Davis, this offense was not a “crime of violence” under 18 U.S.C. § 924(c)); Bonilla v. United

States, 07 Cr. 0097 (SJ), 2020 WL 489573, at *3 (E.D.N.Y. Jan. 29, 2020) (finding “conspiracy

to commit murder in-aid-of racketeering in violation of 18 U.S.C. § 1959(a)(5) is not

categorically a crime of violence following Davis and therefore cannot support a conviction

under § 924(c)”); see also United States v. Rodriguez, 94 Cr. 313 (CSH) 2020 WL 1878112 at *7

(S.D.N.Y. Apr. 15, 2020) (noting that the Government conceded that defendants’ convictions for

conspiring to murder with death resulted were no longer valid predicates for their Section 924(c)

convictions following Davis).

               The post-Davis authorities the Government cites are distinguishable; they dealt

with statutes that explicitly include the use, attempted use, or threatened use of physical force.




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See, e.g., United States v. Tsarnaev, 968 F.3d 24, 104 (1st Cir. 2020) (examining 18 U.S.C.

§ 2332a, which implicates a “person who, without lawful authority, uses, threatens, or attempts

or conspires to use, a weapon of mass destruction,” and 18 U.S.C. § 2232f, which implicates

“[w]hoever unlawfully delivers, places, discharges, or detonates an explosive or other lethal

device in, into, or against a place of public use”) (emphasis added); United States v. Ross, 969

F.3d 829, 837 (8th Cir. 2020) (discussing the statute at issue, 18 U.S.C. § 1202, which penalizes

“[w]hoever unlawfully seizes, confines, inveigles, decoys, kidnaps, abducts, or carries away and

holds for ransom or reward or otherwise any person . . . .”) (emphasis added). As for United

States v. Runyon, 983 F.3d 716 (4th Cir. 2020), a recent case holding that a conspiracy to murder

for hire is a crime of violence, I respectfully decline to follow its reasoning.

               I hold, after Davis, that the conviction of Petitioner of Count One—conspiracy to

commit murder for hire—is not a “crime of violence” under Section 924(c) and, consequently,

that the judgment of conviction and sentence of Petitioner under Count Two is not lawful.

        III.   Right to Be Released.

               Petitioner filed this proceeding pursuant to 28 U.S.C. § 2255(a), seeking release

from custody of a second life term. The Government opposes, arguing that, since Petitioner

already is, and must remain, in custody for life because of his conviction of Count One, his

petition should be dismissed. By the same logic that allowed Petitioner to be sentenced to a

second and consecutive life term when he already was sentenced to life, I hold that he has a right

under the statute to gain release from his unlawful consecutive life term. United States v.

Kaminsky, 339 F.3d 84 (2d Cir. 2003), cited by the Government, is not on point, for it deals with

an appeal of a restitution order, and not a release from an unlawful sentence of custody.

               Section 2255 (a) of Title 18, provides:




                                                  14
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               A prisoner in custody under sentence of a court established by Act
               of Congress claiming the right to be released upon the ground that
               the sentence was imposed in violation of the Constitution or laws
               of the United States, or that the court was without jurisdiction to
               impose such sentence, or that the sentence was in excess of the
               maximum authorized by law, or is otherwise subject to collateral
               attack, may move the court which imposed the sentence to vacate,
               set aside or correct the sentence.

28 U.S.C. § 2255(a) (emphasis added).

               Petitioner asks me "to correct" his sentence, "to vacate [and] set aside" the

unlawful aspect of his sentence. See Pet'r Mot. (ECF No. 230), at I, 14; see also Pet'r Reply

(ECF No. 236). In essence, he argues that his sentence to a second life term "was in excess of

the maximum authorized by law," see 28 U.S.C. § 2255(a), and seeks to be released from the

unlawful portion of his custody. Vacatur of that consecutive life sentence would reduce his two

life sentences to one, and he would remain in custody pursuant to his conviction of Count One.

               No one can foretell the future. If Petitioner's first life term were to be commuted,

or held unlawful, Petitioner would be released immediately and not still be serving an unlawful

consecutive term of life. Petitioner has a cognizable claim for relief under Section 2255.

                                         CONCLUSION

               Petitioner's motion to vacate, set aside, or correct his sentence is granted. The

Judgment is amended to strike the consecutive life sentence imposed under Count Two and,

specifically, on page two, the phrase "and life on count 2 to run consecutive." ECF No. 166,

at 2. The Clerk of Coutt shall terminate ECF No. 230.



               SO ORDERED.


Dated:         November 3, 2021
               New York, New York
                                                             United States District Judge


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